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                                                            United States District Court
                                                                       Southern District of Florida
                                                                                     MIAMI DIVISION
                                                                                                                     AMENDED
           UNITED STATES OF AMERICA                                                           JUDGMENT IN A CRIMINAL CASE

           v.                                                                                 Case Number - 1:12-20947-CR-LENARD-2

           HENRY TARRIO, JR.
                                                                                              USM Number: 98721-004

                                                                                              Counsel For Defendant: Jeffrey Feiler
                                                                                              Counsel For The United States: Vanessa Johannes
                                                                                              Court Reporter: Lisa Edwards
Date of Original Judgment: 8/26/13
(Or Date of Last Amended Judgment)
Reason for Amendment:
G Correction of Sentence on Remand (18 U.S.C. 3742(f)(1) and (2))                           G Modification of Supervision Conditions (18 U.S.C. §§ 3563(c) or 3583(e))
G Reduction of Sentence for Changed Circumstances (Fed. R. Crim.                            G Modification of Imposed Term of Imprisonment for Extraordinary and
  P. 35(b))                                                                                     Compelling Reasons (18 U.S.C. § 3582(c)(1))
G Correction of Sentence by Sentencing Court (Fed. R. Crim. P. 35(a))                       G Modification of Imposed Term of Imprisonment for Retroactive
X Correction of Sentence for Clerical Mistake (Fed. R. Crim. P. 36)                             to the Sentencing Guidelines (18 U.S.C. § 3582(c)(2))
                                                                                            G Direct Motion to District Court        G 28 U.S.C. § 2255 or
                                                                                              G 18 U.S.C. § 3559(c)(7)
                                                                                            G Modification of Restitution Order (18 U.S.C. § 3664)
The defendant pleaded guilty to Count(s) 1,2,3,5 of the Indictment.
The defendant is adjudicated guilty of the following offense(s):


           TITLE/SECTION                                        NATURE OF
              NUMBER                                             OFFENSE                           OFFENSE ENDED                                      COUNT

 21 U.S.C. § 331(k) (333)(a)(2) and               Misbranding FDCA Devices While                     August 17, 2012                                      1
 352(a)                                           Held for Sale after Shipment in
                                                  Interstate Commerce

 18 U.S.C. § 371                                  Conspiracy to Receive Possess and                  August 17, 2012                                      2
                                                  Sell Stolen Goods

 18 U.S.C. § 2315                                 Possessing, Concealing, Storing,                     June 22, 2012                                      3
                                                  Selling, and Disposing of Stolen
                                                  Goods

 18 U.S.C. § 2314                                 Transporting, Transmitting, and                      June 22, 2012                                      5
                                                  Transferring Stolen Goods in
                                                  Interstate Commerce

The defendant is sentenced as provided in the following pages of this judgment. The sentence is imposed pursuant to the Sentencing Reform Act of 1984.

Count(s) remaining are dismissed on the motion of the United States.

It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name, residence, or mailing address until all fines,
restitution, costs and special assessments imposed by this judgment are fully paid. If ordered to pay restitution, the defendant must notify the court and United States attorney
of any material changes in economic circumstances.

                                                                                              Date of Imposition of Sentence:
                                                                                              August 22, 2013

                                                                                              ________________________________
                                                                                              JOAN A. LENARD
                                                                                              United States District Judge
                                                                                              August 26, 2013
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DEFENDANT: HENRY TARRIO, JR.
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                                                                    IMPRISONMENT
        The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a term of 30
months as to counts 1,2, 3 and 5, all to run concurrently.

The Court makes the following recommendations to the Bureau of Prisons:

        Defendant be placed in the 500 hour drug/alcohol treatment program.
        Defendant be placed in a facility in Florida or as close to Florida as possible.

The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons before 2:00 P.M.
on October 21, 2013.as notified by the United States Marshal.




                                                                      RETURN

I have executed this judgment as follows:




Defendant delivered on ____________________ to _________________________________

at _____________________________________________, with a certified copy of this judgment.


                                                                                           __________________________________
                                                                                                UNITED STATES MARSHAL


                                                                                      By:__________________________________
                                                                                                  Deputy U.S. Marshal
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                                                                     SUPERVISED RELEASE

Upon release from imprisonment, the defendant shall be on supervised release for a term of 2 years as to counts 1,2,3, and 5, all
concurrently.

The defendant must report to the probation office in the district to which the defendant is released within 48 hours of release from the
custody of the Bureau of Prisons.

The defendant shall not commit another federal, state or local crime.

The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests
thereafter, as determined by the court.

         The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon.

         The defendant shall cooperate in the collection of DNA as directed by the probation officer.


        If this judgment imposes a fine or a restitution, it is a condition of supervised release that the defendant pay in accordance with
the Schedule of Payments sheet of this judgment.

          The defendant must comply with the standard conditions that have been adopted by this court as well as any additional conditions
on the attached page.

                                                 STANDARD CONDITIONS OF SUPERVISION

1.       The defendant shall not leave the judicial district without the permission of the court or probation officer;
2.       The defendant shall report to the probation officer within the first fifteen (15) days of every month;
3.       The defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
4.       The defendant shall support his or her dependents and meet other family responsibilities;
5.       The defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other acceptable reasons;
6.       The defendant shall notify the probation officer at least ten (10) days prior to any change in residence or employment;
7.       The defendant shall refrain from the excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any controlled substance
         or any paraphernalia related to any controlled substances, except as prescribed by a physician;
8.       The defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
9.       The defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of a felony, unless
         granted permission to do so by the probation officer;
10.      The defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any contraband
         observed in plain view by the probation officer;
11.      The defendant shall notify the probation officer within forty-eight (48) hours of being arrested or questioned by a law enforcement officer;
12.      The defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the permission of the
         court; and
13.      As directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant’s criminal record or
         personal history or characteristics and shall permit the probation officer to make such notifications and to confirm the defendant’s compliance with such
         notification requirement.
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                                                    SPECIAL CONDITIONS OF SUPERVISION

         The defendant shall also comply with the following additional conditions of supervised release:

Financial Disclosure Requirement - The defendant shall provide complete access to financial information, including disclosure of all
business and personal finances, to the U.S. Probation Officer.

No New Debt Restriction - The defendant shall not apply for, solicit or incur any further debt, included but not limited to loans, lines of
credit or credit card charges, either as a principal or cosigner, as an individual or through any corporate entity, without first obtaining
permission from the United States Probation Officer.

Permissible Search - The defendant shall submit to a search of his/her person or property conducted in a reasonable manner and at a
reasonable time by the U.S. Probation Officer.

Self-Employment Restriction - The defendant shall obtain prior written approval from the Court before entering into any self-employment.

Substance Abuse Treatment - The defendant shall participate in an approved treatment program for drug and/or alcohol abuse and abide
by all supplemental conditions of treatment. Participation may include inpatient/outpatient treatment. The defendant will contribute to
the costs of services rendered (co-payment) based on ability to pay or availability of third party payment.
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                                                          CRIMINAL MONETARY PENALTIES


          The defendant must pay the total criminal monetary penalties under the schedule of payments on the Schedule of Payments sheet.


                Total Assessment                                          Total Fine                                        Total Restitution

                          $400                                                  $                                                     $




Restitution with Imprisonment -
It is further ordered that the defendant shall pay restitution in the amount of $       . During the period of incarceration, payment shall
be made as follows: (1) if the defendant earns wages in a Federal Prison Industries (UNICOR) job, then the defendant must pay 50% of
wages earned toward the financial obligations imposed by this Judgment in a Criminal Case; (2) if the defendant does not work in a
UNICOR job, then the defendant must pay $25.00 per quarter toward the financial obligations imposed in this order.
Upon release of incarceration, the defendant shall pay restitution at the rate of 10% of monthly gross earnings, until such time as the court
may alter that payment schedule in the interests of justice. The U.S. Bureau of Prisons, U.S. Probation Office and U.S. Attorney’s Office
shall monitor the payment of restitution and report to the court any material change in the defendant’s ability to pay. These payments do
not preclude the government from using other assets or income of the defendant to satisfy the restitution obligations.

         The determination of restitution is deferred until October 7, 2013. An Amended Judgment in a Criminal Case (AO 245C) will
be entered after such a determination.

*Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18, United States Code, for offenses committed on or after
September 13, 1994, but before April 23, 1996.
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                                                                     SCHEDULE OF PAYMENTS

Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties are due as follows:

          A. Lump sum payment of $400 due immediately, balance due


Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is due
during imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons’ Inmate
Financial Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.

The assessment/fine/restitution is payable to the CLERK, UNITED STATES COURTS and is to be addressed to:

          U.S. CLERK’S OFFICE
          ATTN: FINANCIAL SECTION
          400 NORTH M IAM I AVENUE, ROOM 8N09
          M IAM I, FLORIDA 33128-7716

The assessment/fine/restitution is payable immediately. The U.S. Bureau of Prisons, U.S. Probation Office and the U.S. Attorney’s
Office are responsible for the enforcement of this order.




         Joint and Several

Defendant and Co-Defendant Names and Case Numbers , Total Amount, Joint and Several Amount, and corresponding payee.

Joint and Several with co-defendants in this case.

Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal, (5) fine
interest, (6) community restitution,(7) penalties, and (8) costs, including cost of prosecution and court costs.
